Case 2:04-cr-20512-SH|\/| Document 41 Filed 06/20/05 Page 1 of 2 PagelD 39

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wEsTEnN olvlsloN 05 JUN 20 AH lO= 31.

 

ROBEF-`l'i' Fi. Di THOLIO
CLERY, U_S, Dr ,
UNITED STATES OF AIV|ER|CA W_D, dc TN, M§;p§;lé

Plaintiff,
VS. CR. NO. 04-20512-B

MUJAH|D MUHAMMAD,

Defendant.

 

OFlDEFi DENY|NG MOT|ON TO SUPPRESS, ORDEF{ ON CONTINUANCE AND
SPEClFY|NG PEFl|OD OF EXCLUDABLE DELAY

AND SETT|NG

 

This cause came on for a Hearing on the Motion to Suppress on May 25, 2005. Atter
considering the testimony of witnesses, the evidence submitted, and statements of counsel, the
Court denied the motion to suppress incorporating its factual findings and conclusions ot law
issued orally. The Court has also received and considered the Defendant’s post-hearing
memorandum. Foltowing a review ot the submission, the Court affirms its previous denial of the
motion to suppress

The Court previously resetthe trial date to the Crimina| Flotation Docket beginning Monday,
Ju|y 5, 2005 at 9:30 a.m. with a Re;:_)ort Date ot Thursdavl June 23l 2005 at
2;00 p.m., in Courtroom 1. 11th Floor of the Federai Bui|ding, Memphis, Tennessee.

The period from April 15, 2005 through Ju|y 15, 2005 is excludable under 18 U.S.C. §
3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional time to prepare
outweigh the need for a speedy tria|.

Ql=~
lT ls so oFiDEFrED this 17 rJune, 2005.

  
   
  

 

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i"ni-z document entered on the docket sheet in compliance
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Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
ease 2:04-CR-205 12 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

Katrina U. Earley

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Honorable J. Breen
US DISTRICT COURT

